
McKinney, J.
delivered the opinion of the court.
It is well settled that a purchaser at a sale made by a master, under the decretal order of a court of *82chancery, thereby makes himself a party to the proceedings in the cause, for some purposes, though not a party originally; and subjects himself to the summary power of the court, in the exercise of its inherent jurisdiction, to enforce and give effect to its own orders and decrees, to compelí him to complete his purchase, by paying the purchase money.
This jurisdiction will be exercised, in all proper cases, so long as the control of the court over the cause and the parties continues, as was done in the case of Deaderick et als. vs. Smith et als., 6 Hump. 138. But the case under consideration is wholly different from that case. Here, the sale had been confirmed by the court, the title to the slave, purchased by Sawyers, had been vested in him by decree of the court; the note in question, upon a final adjustment of the matters in the cause, had been delivered to Vanbibber, as guardian, by the clerk and master; and a final disposition made of the cause; and all this more than two years before the institution of this proceeding. Nothing further remained to be done in the cause. The court had divested itself of all control over the cause and parties; and had no jurisdiction therefore to entertain the motion made in this cause. The decree of the chancellor will be reversed, and the motion dismissed.
